 Fill in this information to identify the case and this filing:


               Interactive Health Benefits LLC
 Debtor Name __________________________________________________________________

                                          Eastern
 United States Bankruptcy Court for the: ______________________              Michigan
                                                                District of __________
                                                                               (State)
 Case number (If known):     24-43778-mlo
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         X Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         
         
         X Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         X Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         
         X Schedule H: Codebtors (Official Form 206H)

         
         X Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on May  11, 2024
                    ______________                          /s/ Todd Covert
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Todd Covert
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Executive Officer and Sole Member
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202
             24-43778-mlo               DocDeclaration
                                            64 Filed   Under Penalty of Perjury for Non-Individual Debtors
                                                          05/11/24 Entered 05/11/24 19:13:33                              Page 1 of 18
 Fill in this information to identify the case:

                Interactive Health Benefits LLC
  Debtor name _________________________________________________________________

                                          Eastern District of Michigan
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        24-43778
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       1,281,549.46
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         1,281,549.46
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        2,810,610.81



4. Total liabilities ...........................................................................................................................................................................        2,810,610.81
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




                  24-43778-mlo                           Doc 64                Filed 05/11/24                          Entered 05/11/24 19:13:33                                           Page 2 of 18
  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
  Fill in this information to identify the case:

               Interactive Health Benefits LLC
  Debtor name __________________________________________________________________

  United States Bankruptcy Court for the:_______________________________
                                          Eastern District of Michigan
  Case number (If known):
                              24-43778
                              _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)               Type of account                 Last 4 digits of account number
          Fifth Third Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              9
                                                                                               ____  4
                                                                                                    ____ 8
                                                                                                         ____ 5
                                                                                                              ____               $______________________
                                                                                                                                   1,030,203.64
          Fifth Third Bank
    3.2. _________________________________________________  Money Market
                                                           ______________________              4
                                                                                               ____  1
                                                                                                    ____ 2
                                                                                                         ____ 6
                                                                                                              ____                 26,954.90
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 1,057,158.54
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes. Fill in the information below.
    ✔


                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________

               24-43778-mlo                Doc 64      Filed 05/11/24            Entered 05/11/24 19:13:33                   Page 3 of 18
   Official Form 206A/B                                   Schedule A/B: Assets  Real and Personal Property                                   page 1
Debtor           Interactive Health Benefits LLC
                _______________________________________________________                                                 24-43778
                                                                                                 Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
         Hiscox Insurance (repayment for insurance premium - Business Owners)
    8.1.___________________________________________________________________________________________________________                $______________________
                                                                                                                                     60.83
         See continuation sheet
    8.2.___________________________________________________________________________________________________________                $_______________________
                                                                                                                                     34,138.27

9. Total of Part 2.
                                                                                                                                   $______________________
                                                                                                                                     34,199.10
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     197,768.69
                                  ____________________________    19,776.87
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    177,991.82
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         1,550.00
                                   ___________________________    1,550.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    0.00
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
                                                                                                                                    177,991.82
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      Yes. Fill in the information below.
      ✔


                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
          IHB Holding, LLC
    15.1._______________________________________________________________             70
                                                                                    ________%            _____________________    $________________________
                                                                                                                                    Unknown
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:
          West Bend Insurance - ERISA Bond (401(k) Plan)
    16.1.________________________________________________________________________________                ______________________    $_______________________
                                                                                                                                     Unknown
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
                                                                                                                                    0.00
     Add lines 14 through 16. Copy the total to line 83.


                24-43778-mlo              Doc 64          Filed 05/11/24         Entered 05/11/24 19:13:33                  Page 4 of 18
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 2
                Interactive Health Benefits LLC                                                                           24-43778
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                              Date of the last         Net book value of        Valuation method used        Current value of
                                                       physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                (Where available)
19. Raw materials
    ________________________________________                 ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                 ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                 ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                  $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
      No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
      No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used        Current value of debtor’s
                                                                                debtor's interest        for current value            interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6

    ______________________________________________________________               $________________         ____________________     $______________________
              24-43778-mlo              Doc 64         Filed 05/11/24             Entered 05/11/24 19:13:33                   Page 5 of 18
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                     page 3
Debtor
                Interactive Health Benefits LLC
               _______________________________________________________                                                  24-43778
                                                                                                 Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________     ____________________      $______________________
40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
Laptop computers                                                                                         online appraisal           12,200.00
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     12,200.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
     
     ✔ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
              24-43778-mlo              Doc 64          Filed 05/11/24             Entered 05/11/24 19:13:33                Page 6 of 18
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 4
 Debtor
                Interactive Health Benefits LLC
               _______________________________________________________
                                                                                                              24-43778
                                                                                           Case number (if known)_____________________________________
               Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
      No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
      No
      Yes




             24-43778-mlo              Doc 64         Filed 05/11/24         Entered 05/11/24 19:13:33                Page 7 of 18
 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
                   Interactive Health Benefits LLC                                                                      24-43778
 Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
       ✔


        Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                    Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as     of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property      in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1

                                                                                      $_______________      ____________________        $_____________________

55.2

                                                                                      $_______________      ____________________        $_____________________

55.3

                                                                                      $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                        $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
        No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
        No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                           Net book value of     Valuation method             Current value of
                                                                                      debtor's interest     used for current value       debtor’s interest
                                                                                      (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                 $_________________     ______________________      $____________________

61. Internet domain names and websites
                                                                                                                                           Unknown
    acatrack.net
    ______________________________________________________________                    $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                 $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations                                                                                   Unknown
    Customer and Mailing Lists
    ______________________________________________________________                    $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property                                                                                            Unknown
    ______________________________________________________________
    Proprietary software                                                               $________________     _____________________       $____________________
65. Goodwill
                                                                                                                                           Unknown
    Goodwill
    ______________________________________________________________                     $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                      0.00
                                                                                                                                         $____________________
       Add lines 60 through 65. Copy the total to line 89.




                24-43778-mlo               Doc 64             Filed 05/11/24          Entered 05/11/24 19:13:33                 Page 8 of 18
 Official Form 206A/B                                             Schedule A/B: Assets  Real and Personal Property                                  page 6
Debtor            Interactive Health Benefits LLC
                 _______________________________________________________                                               24-43778
                                                                                                Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔ No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔ No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
     Yes. Fill in the information below.
      ✔

                                                                                                                                     Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                       0.00
                                                                      _______________   –    0.00
                                                                                            __________________________         =     0.00
                                                                                                                                    $_____________________
                                                                      Total face amount     doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
     See continuation sheet
    ______________________________________________________________                                                                    Unknown
                                                                                                                                    $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     ACA Track LLC v. Dagenais, No. 370205, Court of Appeals for MI
    ______________________________________________________________                                                                    Unknown
                                                                                                                                    $_______________________
    Nature of claim                     Appeal of judgment
                                       ___________________________________

    Amount requested                     0.00
                                       $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________
78. Total of Part 11.
                                                                                                                                      0.00
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔ No
     Yes
         24-43778-mlo                        Doc 64        Filed 05/11/24      Entered 05/11/24 19:13:33                       Page 9 of 18
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                 page 7
Debtor
                   Interactive Health Benefits LLC
                  _______________________________________________________
                                                                                                                                           24-43778
                                                                                                                       Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         1,057,158.54
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         34,199.10
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         177,991.82
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         12,200.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            0.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         1,281,549.46                      0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  1,281,549.46                                                                                   1,281,549.46
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




              24-43778-mlo                    Doc 64             Filed 05/11/24                   Entered 05/11/24 19:13:33                        Page 10 of 18
Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
                Interactive Health Benefits LLC                                                                     24-43778
 Debtor 1                                                                 _                Case number (if known)
               First Name     Middle Name            Last Name



                                                         Continuation Sheet for Official Form 206 A/B

8) Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and
rent

General description                                                 Current value

Google (prepayment for subscription                                 $1,199.96
for services)

Adobe (prepayment for subscription for                              $208.33
services)

Vonage (prepayment for services)                                    $343.00

Freshworks (prepayment for                                          $147.00
subscription for services)

Citrix/Sharefile (prepayment for                                    $1,298.21
services)

Accident Fund Insurance Company of                                  $1,011.00
America (prepayment of insurance
premiums)

California Department of Tax & Fee                                  $800.00
Administration (prepayment of
franchise tax)

ZoHo Corporation (prepayment for                                    $900.00
services)

USPS (prepayment for P.O. Box)                                      $256.00

Lead411 (prepayment for services)                                   $711.00

Society of Human Resources Manager                                  $439.00
(prepayment for services)

Basecamp (prepayment for subscription                               $180.00
for services)

KnowBe4 (prepayment for services)                                   $1,976.00

TMetric (prepayment for services)                                   $1,610.00

Citrix/Sharefile (prepayment for                                    $578.50
services)

CNA Insurance (prepayment on insurance                              $2,824.90
premiums)

United Direct Solutions (prepayment                                 $12,376.75
for services)

At-Bay Insurance (prepayment of                                     $5,328.12
insurance premiums)

Hiscox Insurance (repayment for                                     $1,950.50
insurance premium - professional
liability)




             24-43778-mlo                   Doc 64       Filed 05/11/24       Entered 05/11/24 19:13:33                   Page 11 of 18
Official Form 206 A/B                                                 Schedule A/B: Property
                Interactive Health Benefits LLC                                                                     24-43778
 Debtor 1                                                                 _                Case number (if known)
               First Name     Middle Name            Last Name



                                                         Continuation Sheet for Official Form 206 A/B

73) Interests in insurance policies or annuities

General description                                                 Current value

Accident Fund Insurance Company of                                  Unknown
America - Workers' Compensation Policy,
 Policy No. -2443

At-Bay Specialty Insurance Company -                                Unknown
Cyber Insurance Policy, Policy No.
-26-02

Hiscox Insurance Company Inc. -                                     Unknown
Professional Liability (US Direct
Errors and Omissions), Policy No. -221.
9)

Hiscox Insurance Company Inc. -                                     Unknown
Business Owners Policy, Policy No. -
404.9

CNA Insurance - Employed Lawyers                                    Unknown
Policy -7352




             24-43778-mlo                   Doc 64       Filed 05/11/24       Entered 05/11/24 19:13:33                   Page 12 of 18
Official Form 206 A/B                                                 Schedule A/B: Property
  Fill in this information to identify the case:
              Interactive Health Benefits LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Eastern District of Michigan
                                 24-43778
  Case number (If known):       _________________________                                                                                              Check if this is an
                                                                                                                                                           amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                               12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim           Value of collateral
                                                                                                                                Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien           of collateral.            claim


      __________________________________________                                                                                $__________________        $_________________

     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________

                                                                  Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                  Is the creditor an insider or related party?
    Date debt was incurred           __________________            No
    Last 4 digits of account                                       Yes
    number                   _________________                    Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                  No
    same property?                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                  As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                  Check all that apply.
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                                $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                  Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                  Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  No
    same property?                                                 Yes
     No                                                          Is anyone else liable on this claim?
     Yes. Have you already specified the relative                 No
           priority?
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.              As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                   Contingent
          Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                        Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $________________
    Page, if any.
             24-43778-mlo                      Doc 64            Filed 05/11/24            Entered 05/11/24 19:13:33                       Page 13 of 18
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                         0
                                                                                                                                                             page 1 of ___
      Fill in this information to identify the case:

      Debtor
                      Interactive Health Benefits LLC
                      __________________________________________________________________

                                              Eastern District of Michigan
      United States Bankruptcy Court for the: ________________________________

      Case number      24-43778
                       ___________________________________________
      (If known)

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                       12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       No. Go to Part 2.
      
      ✔ Yes. Go to line 2.


 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________
                                                                                                              Undetermined
    Internal Revenue Service                                                                                                           $_________________
                                                               Check all that apply.
    P.O. Box 7346                                              
                                                               ✔ Contingent
    Philadelphia, PA, 19101-7346                               
                                                               ✔ Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred                           Taxes & Other Government Units
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                      ✔ No

                                                                Yes
      Specify Code subsection of PRIORITY unsecured
                                  8
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

                    24-43778-mlo           Doc 64        Filed 05/11/24                Entered 05/11/24 19:13:33               Page 14 of 18
  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                               4
                                                                                                                                            page 1 of ___
  Debtor
               Interactive Health Benefits LLC
               _______________________________________________________                                                      24-43778
                                                                                                     Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre dit ors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Access Point Consulting                                                                                                    2,500.00
                                                                                                                             $________________________________
                                                                            Contingent
    6081 Hamilton Boulevard                                                 Unliquidated
    Suite 600                                                               Disputed
    Allentown, PA, 18106                                                                           Suppliers or Vendors
                                                                           Basis for the claim:



    Date or dates debt was incurred            4/2024
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    American Express                                                       Check all that apply.                               27,260.00
                                                                                                                             $________________________________
    PO Box 60189                                                            Contingent
    City Of Industry, CA, 91716                                             Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt


    Date or dates debt was incurred            3/2024
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    DeeVita PaaS Migration                                                                                                     27,944.50
                                                                                                                             $________________________________
                                                                            Contingent
    8201 164th Ave NE                                                       Unliquidated
    Suite 200                                                               Disputed
    Redmond, WA, 98052
                                                                           Basis for the claim:
                                                                                                   Services

    Date or dates debt was incurred            4/2024
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Gusto Payroll Service                                                  Check all that apply.
                                                                                                                               540.00
                                                                                                                             $________________________________
    525 20th street                                                         Contingent
    San Francisco, CA, 94107                                                Unliquidated
                                                                            Disputed
                                                                            Basis for the claim:
                                                                                                   Services

    Date or dates debt was incurred            4/2024
                                               ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Jerry Dagenais                                                                                                             2,693,287.11
                                                                                                                             $________________________________
                                                                           Check all that apply.
    1101 Deer Path Trail                                                    Contingent
    Oxford, MI, 48371                                                       Unliquidated
                                                                           
                                                                           ✔ Disputed
                                                                           Basis for the claim:
                                                                                                    Judgment
    Date or dates debt was incurred            1/17/2024
                                               ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Microsoft Azure                                                                                                            11,955.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    6880 Sierra Center Parkway                                              Contingent
    Dept. 551, Volume Licensing                                             Unliquidated
    Reno, NV, 89511                                                         Disputed
                                                                           Basis for the claim:    Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                               4/2024                      Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                             No
                                                                            Yes
              24-43778-mlo            Doc 64         Filed 05/11/24              Entered 05/11/24 19:13:33                     Page 15 of 18
    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    4
                                                                                                                                                           2 of ___
  Debtor
                 Interactive Health Benefits LLC
                 _______________________________________________________                                            24-43778
                                                                                             Case number (if known)_____________________________________
                 Name



Pa rt 2 :    Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             795.70
                                                                                                                     $________________________________
 Mutual of Omaha                                                      Contingent
 3301 Dodge Street                                                    Unliquidated
 Omaha, NE, 68131                                                     Disputed
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
       Date or dates debt was incurred         4/2024
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
       Last 4 digits of account number        ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       578.50
                                                                                                                     $________________________________
 Sharefile/Citrix
 621 Hillsborough St                                                  Contingent
 Suite 700                                                            Unliquidated
 Raleigh, NC, 27603                                                   Disputed
                                                                     Basis for the claim: Services



       Date or dates debt was incurred         04/2024
                                              ___________________    Is the claim subject to offset?
       Last 4 digits of account number        ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Softura                                                             Check all that apply.
                                                                                                                      45,750.00
                                                                                                                     $________________________________
 23570 Haggerty Rd                                                    Contingent
 Farmington, MI, 48335                                                Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



       Date or dates debt was incurred        ___________________
                                              3/2024 - 4/2024        Is the claim subject to offset?
       Last 4 digits of account number        __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



       Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      No
       Last 4 digits of account number        ___________________     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



       Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      No
       Last 4 digits of account number        ___________________     Yes


               24-43778-mlo              Doc 64     Filed 05/11/24         Entered 05/11/24 19:13:33                   Page 16 of 18
      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      4
                                                                                                                                                   3 of ___
                                                                                                                                              page __
 Debtor
               Interactive Health Benefits LLC
                _______________________________________________________
                                                                                                                 24-43778
                                                                                           Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of t he Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                   Total of claim amounts



5a. Total claims from Part 1                                                                          5a.
                                                                                                                     0.00
                                                                                                                   $_____________________________




5b. Total claims from Part 2                                                                          5b.    +       2,810,610.81
                                                                                                                   $_____________________________




5c. Total of Parts 1 and 2                                                                                           2,810,610.81
                                                                                                      5c.          $_____________________________
   Lines 5a + 5b = 5c.




             24-43778-mlo           Doc 64        Filed 05/11/24          Entered 05/11/24 19:13:33                  Page 17 of 18
   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __    4
                                                                                                                                                 4 of ___
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Interactive Health Benefits LLC

                                         Eastern District of Michigan
 United States Bankruptcy Court for the:_______________________________

                            24-43778
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1 Todd Covert                     3776 Sleeth Road                                                    American Express                     D
                                     Commerce Township, MI 48382                                                                             ✔ E/F
                                                                                                                                             
                                                                                                                                              G




 2.2
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




             24-43778-mlo              Doc 64         Filed 05/11/24             Entered 05/11/24 19:13:33                     Page 18 of 18
Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
